                                    Case:
        Case 1:22-mj-00195-RMM Document   1:22−mj−00195
                                        1-1   Filed 08/24/22 Page 1 of 16
                                    Assigned To : Magistrate Judge Meriweather, Robin M.
                                    Assign. Date : 8/24/2022
                                    Description: Complaint w/ Arrest Warrant
                                   STATEMENT OF FACTS

        Your affiant, Elizabeth Tran, is a Special Agent of the Federal Bureau of Investigation
(FBI) assigned to the Cleveland Division, Toledo Resident Agency – Joint Terrorism Task Force.
My duties as a Special Agent, includes investigations of national security cases involving
individuals with the desire to commit international and domestic acts terrorism, and those who
have sought to commit acts of violence in the United States. My experience has included
investigation of criminal cases such as healthcare fraud, public corruption, violent crime, and drug
trafficking. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
        Case 1:22-mj-00195-RMM Document 1-1 Filed 08/24/22 Page 2 of 16




President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                 Facts Specific to the Application

        On January 16, 2021, the FBI received a complaint by a witness (Witness-1), who reported
Jonathan Copeland (Copeland) was present at the U.S. Capitol on January 6, 2021. Based on the
complaint an investigation was initiated. On January 28, 2021, Witness-1 was interviewed by the
FBI and said they identified Copeland while watching the CBS news. Witness-1 was able to
identify Copeland because CBS stopped the camera on Copeland for approximately 3-5 seconds.
Witness-1 further reported Copeland resided in a trailer park in Fort Shawnee, Ohio. Witness-1
described Copeland’s appearance to be 5’11 to 6 feet tall, 240 pounds, wears glasses and has a
shaved head.

       On April 17, 2021, Witness-2 submitted a complaint to the FBI in which they identified
Copeland as an individual suspected of being at and or inside the U.S. Capitol on January 6,
2021. On January 3, 2022, Witness-2 was interviewed by the FBI and said that they knew
Copeland. Following the January 6th events, Witness-2 went to the FBI’s website seeking
information to identify images of person who were suspected of violating the law while at the
U.S. Capitol and Witness-2 contacted the FBI National Threat Operations Center, regarding
individual in Photographs #192 – AOM (as shown below, Figure 1).




                                                 Figure 1

      Additionally, on January 3, 2022, Witness-2 was shown an image from CCTV footage
from within the U.S. Capitol. Witness-2 identified Copeland to be in the below image: (Figure 2).
        Case 1:22-mj-00195-RMM Document 1-1 Filed 08/24/22 Page 3 of 16




                                            Figure 2

                                     Interview of Copeland

        On February 9, 2021, the FBI interviewed Copeland by phone and on February 23, 2021,
I interviewed Copeland in person. During both interviews with the FBI, Copeland provided similar
accounts of his actions while in the vicinity and inside the U.S. Capitol on January 6, 2021:
Copeland carpooled to the U.S. Capitol with an individual whom he met online. Copeland stated
on January 6, 2021, he got up early and walked to the rally area. Copeland met with the individual
with whom he traveled and watched a part of the speech but left toward the U.S. Capitol building.
They reached the first barricade, a bike rack style barrier manned with 5-7 police officers.
Copeland made his way over to the scaffolding on the left side of the crowd area. He also started
following a group of people climbing on the scaffolding and crossed on a ramp to the upper level
of the U.S. Capitol building. Copeland went through an open door near where the news showed a
white male with a black coat breaking a window with the shield. Copeland said he went through a
circular room with a lot of statues and heard people chanting. He joined in and there was a lot of
energy with all of the people inside. Copeland took a flight of stairs down to the commons area
and saw a standoff between police and people, where there was a large fight. Copeland ran up the
escalator, but then went back down the stairs to the commons area. Copeland went back up the
escalator to the statue room and saw police. The hall was filled with smoke and tear gas, and it
started to affect him. While inside, Copeland said he received a phone call from the individual
with whom he traveled, who said, “Son, you know what you’re doing is a crime.” Copeland
retraced his path where he saw a police officer who directed him out exited through a window.
Copeland attempted to take a video while inside the U.S. Capitol, but said he was unable to get
cellular service.

       Copeland further said he took his phone, associated with number XXX-XXX-3123, with
him to and into the U.S. Capitol. Copeland told FBI Agents that he felt remorseful, upon leaving
the U.S. Capitol, so he deleted his accounts and disposed of his cellphone. Copeland advised he
was wearing the same pants and boots during the interview that he had worn while he was inside
the Capitol on January 6, 2021. Copeland did not make any statements about wearing different
head coverings/hats. During the February 23, 2021 interview with the FBI, Agents observed
        Case 1:22-mj-00195-RMM Document 1-1 Filed 08/24/22 Page 4 of 16




Copeland wearing safety glasses, which appeared similar to the ones worn in images and video of
Copeland outside and inside the U.S. Capitol on January 6, 2021.

                                        FBI Investigation

       The phone number and email accounts Copeland provided the FBI did not register on the
U.S. Capitol device geolocation data captured from the area surrounding the U.S. Capitol.

        Law enforcement queried U.S. Capitol records pertaining to an additional telephone
number that was identified and attributed to Copeland, phone number, XXX-XXX-4427. The
records revealed the aforementioned telephone number having utilized a cellular site consistent
with the geographic area that included the interior of the U.S. Capitol building in and around the
time of the incident on January 6, 2021 at approximately 2:28 P.M. EST.

        On May 10, 2021, Witness-3 was interviewed by the FBI. Witness-3 provided information
that they drove Copeland to Washington, D.C. on January 5, 2021. On January 6, 2021, Witness-
3 and Copeland separated at approximately 2:00 P.M. EST. As a result, Witness-3 placed several
phone calls in an attempt to locate Copeland. After a period of time, Copeland answered a phone
call and admitted to being inside the rotunda of the U.S. Capitol building. Witness-3 and Copeland
reconnected, in person, approximately 40 minutes later.

        On March 15, 2022, open-source research revealed numerous images and videos of
Copeland from January 6, 2021. The research identified a variety of images and videos that I assess
to be Copeland both in the vicinity of and inside the U.S. Capitol grounds on January 6, 2021. The
below is a summary of the open-source research content, video from U.S. Capitol Police Closed-
Circuit Television (CCTV), and video from other subjects’ cell phone and devices.

        In review of the aforementioned videos and images, on January 6, 2021, Copeland can be
identified by the green bandana or red covering, grey hoodie, yellow sticker on the chest, brown
khaki pants, plaid collared shirt, black boots, gloves and safety glasses. Copeland appeared in
different head coverings following his movement in the U.S. Capitol and in the vicinity of the
U.S. Capitol.

                                        Images and Video

Copeland is in a 16-second video in the vicinity of the U.S. Capitol (Twitter) talking to a few
individuals (Timecode: 0:08-0:13, Figure 3). https://twitter.com/i/status/1373698296850624512
        Case 1:22-mj-00195-RMM Document 1-1 Filed 08/24/22 Page 5 of 16




                                             Figure 3

Copeland is seen in a video with a larger group walking up the steps toward the first barricade at
the U.S. Capitol steps, https://www.facebook.com/deanm1134/videos/3647258548644742
(Timecode: 0:05, Figure 4)




                                             Figure 4
Copeland stands in a group with a few U.S. Capitol police in the foreground. Barricades appear
to be separating the mass and the police. (youtube.com, Timecode 14:51, Figure 5)
https://www.youtube.com/watch?v=wIFpSg-6HIc&t=892
        Case 1:22-mj-00195-RMM Document 1-1 Filed 08/24/22 Page 6 of 16




                                            Figure 5

Copeland advances through a closed area barricade secured by U.S. Capitol Police in front of the
U.S. Capitol steps, identified by his grey hoodie, green bandana, glove and glasses.
https://www.youtube.com/watch?v=XE3Op_eyvss&t=26 (youtube.com, Timecode: 0:26, Figure
6)




                                            Figure 6
Copeland (from a different angle) is directly behind individuals who are engaged in physical
assaults of law enforcement. Copeland fails to submit to commands to stay back near the
barricades. https://www.youtube.com/watch?v=fpNHAuw-K_k&t=1113 (Timecode: 18:33,
Figure 7)
       Case 1:22-mj-00195-RMM Document 1-1 Filed 08/24/22 Page 7 of 16




                                         Figure 7

Copeland walks over the barricades near the front where U.S. Police retreat away from the
crowd. https://archive.org/download/qtjchjfyquFzod6YS/qtjchjfyquFzod6YS.mkv (Timecode:
10:34, Figure 8)




                                         Figure 8

Copeland in a video walking on the U.S. Capitol premises near the scaffolding
https://www.facebook.com/leon.kerns/videos/3668417996546205 (Timecode: 3:13, Figure 9)
       Case 1:22-mj-00195-RMM Document 1-1 Filed 08/24/22 Page 8 of 16




                                           Figure 9

Copeland argues with a camera man/photographer. Copeland is identified by his beard, glasses,
one-handed glove, brown khaki pants. Archive.org Link
https://archive.org/download/b5ctbnN3Ws55C2osw/b5ctbnN3Ws55C2osw.mpeg4 (Timecode:
2:18, Figure 10)




                                          Figure 10
       Case 1:22-mj-00195-RMM Document 1-1 Filed 08/24/22 Page 9 of 16




Copeland argues with a camera man/photographer in the crowd. Copeland grabs the camera
man’s sleeve as the camera man is grabbed and pushed off a ledge by other individuals.
https://www.instagram.com/tv/CJxKMArpN0_/?utm_source=ig_web_copy_link (Timecode 0:32
and 00:36, Figures 11 and 12)




                                      Figure 11




                                      Figure 12
       Case 1:22-mj-00195-RMM Document 1-1 Filed 08/24/22 Page 10 of 16




Copeland is identified with one gloved hand and green bandana as Copeland and others push a
large, metal “Trump” sign into a line of law enforcement officers. Officers attempted to fend off
repeated attempts by rioters to breach the police line and assault the officers, but the rioters were
successful and pushed the large metal framed Trump banner through the line.
https://www.youtube.com/watch?v=Sen2GSMT400&t=88 (Timecode: 1:27, Figure 13)




                                             Figure 13

Copeland shoves the large metal framed Trump banner into officers
https://www.youtube.com/watch?v=5i6ra90rQDs&t=116 (Timecode: 1:55, Figure 14)




                                             Figure 14
       Case 1:22-mj-00195-RMM Document 1-1 Filed 08/24/22 Page 11 of 16




Still image captured from USCP CCTV video from the west roof of the U.S. Capitol Building on
January 6, 2021. The image depicts the struggle between rioters and law enforcement regarding
the large metal Trump sign. (Figure 15)




                                           Figure 15

Copeland walks into the Senate Doors of the U.S. Capitol identified by his beard, glasses, one-
handed glove, brown khaki pants and grey hoodie over a red hat. https://propublica-data-j6cases-
videos.s3.us-east-
1.amazonaws.com/b82e47b0fe07013933e52cde48001122.mp4?_ga=2.31884990.1204253088.163864
7
062-233311640.1635534856 (Timecode: 0:36, Figure 16)




                                           Figure 16
       Case 1:22-mj-00195-RMM Document 1-1 Filed 08/24/22 Page 12 of 16




Copeland enters with a large group from the Crypt to the Crypt Lobby, which leads to the
elevators/escalators to the Capitol Visitor Center. U.S. Capitol Police retreat from the doors as
the group enters. The barrier gate closes from above, but the rioters continue to enter and prevent
the barrier gate from closing. Copeland can be seen in the foreground.
https://propublica-data- j6cases-videos.s3.us-east-
1.amazonaws.com/3e7878003511013ab8562cde48001122.mp4?_ga=2.257860044.654083529.16384
73
971-233311640.1635534856 (Timecode: 0:54, Figure 17)




                                            Figure 17

Copeland walks from the Crypt toward the stairs and escalators that will lead to the U.S. Capitol
Visitor Center. The video provides another angle at the top of the escalator.
https://web.archive.org/web/submit?url=https://video.parler.com/AY/ij/AYijYnzI0Gbr.mp4
(Timecode: 0:32, Figure 18)




                                            Figure 18
       Case 1:22-mj-00195-RMM Document 1-1 Filed 08/24/22 Page 13 of 16




Copeland goes down the elevators/escalators from the Crypt into the Capitol Visitor
Center. https://propublica- data-j6cases-videos.s3.us-east-
1.amazonaws.com/540e1310350b013ab8562cde48001122.mp4?_ga=2.94883100.1204253088.
1638647062-233311640.1635534856 (Timecode: 2:47, Figure 19)




                                           Figure 19
Copeland goes up and down the escalator and stairs of the U.S. Capitol Visitor Center, travelling
between the Crypt, Crypt Lobby and U.S. Capitol Visitor Center. https://propublica-data-
j6cases-videos.s3.us-east-
1.amazonaws.com/500eb3d03511013ab8562cde48001122.mp4?_ga=2.12466740.1836584835.16471
95
189-1193919601.1643496074 (Timecode 0:08 , Figure 20)
       Case 1:22-mj-00195-RMM Document 1-1 Filed 08/24/22 Page 14 of 16




                                            Figure 20

Copeland is in the lower level of the U.S. Capitol Visitor Center. https://propublica- data-
j6cases-videos.s3.us-east-
1.amazonaws.com/98c8c0b0350c013ab8562cde48001122.mp4?_ga=2.228058202.654083529
.1638473
971-233311640.1635534856 (Timecode: 5:48, Figure 21)




                                            Figure 21

Copeland remains on the U.S. Capitol premises on January 6, 2021 after exiting the Capitol
Building. YouTube - https://www.youtube.com/watch?v=70SspWNp4Bg&t=96 (Timecode:
1:35, Figure 22)
       Case 1:22-mj-00195-RMM Document 1-1 Filed 08/24/22 Page 15 of 16




                                             Figure 22

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Copeland violated 18 U.S.C. § 1752(a)(1) and (2), and (4) which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; (4) knowingly engages in any act of
physical violence against any person or property in any restricted building or grounds; or attempts
or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Copeland violated 40
U.S.C. § 5104(e)(2)(D)&(G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

       Your affiant submits there is also probable cause to believe that Copeland violated 18
U.S.C. § 111(a)(1), and (b) which makes it a crime to use a deadly or dangerous weapon, in this
case a large metal Trump sign, to forcibly assault, resist, oppose, impede or interfere with any
person engaged in the performance of official duties.
       Case 1:22-mj-00195-RMM Document 1-1 Filed 08/24/22 Page 16 of 16




        Finally, your affiant submits there is also probable cause to believe that Copeland violated
18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.




                                                     _________________________________
                                                     Elizabeth Tran
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 24th day of August 2022.


                                                      ___________________________________
                                                     HONORABLE ROBIN M. MERIWEATHER
                                                      UNITED STATES MAGISTRATE JUDGE
